Case 5:19-cv-00303-JSM-PRL Document1 Filed 06/21/19 Page 1 of 9 PagelD 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION

CASE NO.:

XZEQUIEL MONTALVO,
Plaintiff,

¥.

NEW CENTURY BUFFET OF CLERMONT, INC.,
a Florida Corporation,
HUA GUANG WENG, individually,

Defendants.
{

 

COMPLAINT
Plaintiff, XZEQUIEL MONTALVO (“Montalvo”), under the provisions of the Fair
Labor Standard Act (“FLSA”) of 1938, as amended, 29 U.S.C. § 216(b), files this Complaint
against Defendants, NEW CENTURY BUFFET OF CLERMONT, INC. (“New Century”) and
HUA GUANG WENG (“Weng”) individually, and alleges, as follows:
PARTIES, JURISDICTION, AND VENUE

1, This Court has subject matter jurisdiction over Plaintiff’s federal law claims
pursuant to 28 U.S.C. §§ 1331 and 1343(4), because these claims seek redress for violations
of Plaintiff's federal civil and statutory rights.

2, At all material times, New Century is, and was, a Florida corporation, authorized
to conduct and conducting business in Lake County, Florida.

3, At all material times, Weng, is sui juris and a resident of Lake County, Florida.

4, At all material times, Montalvo, is sui juris and a resident of Lake County,

Florida.

 
Case 5:19-cv-00303-JSM-PRL Document1 Filed 06/21/19 Page 2 of 9 PagelD 2

5. Venue is proper in the Middle District of Florida pursuant to 28 U.S.C. §§ 1391(b)
and (c) as a substantial part of the events or omissions giving rise to the claims that occurred
in this judicial district.

6. This is an action for unpaid overtime and minimum wage compensation, as well as
an additional amount as liquidated damages, costs and reasonable attorney’s fees pursuant to
the FLSA, §§ 206, 207.

7. Upon information and belief, the annual gross revenue of New Century was at all
times material hereto, in excess of $500,000.00 per annum.

8. At all material times hereto, New Century was and continues to be an enterprise
engaged in interstate commerce.

9. At all material times hereto, New Century operated as an organization which
purchased equipment and products manufactured outside the state of Florida; provided services
to or sold, marketed, or handled goods and materials to customers throughout the United States;
provided services for goods sold and transported from across state lines; obtained, solicited,
and accepted funds from sources outside the state of Florida; used telephonic transmissions
traversing state lines in the ordinary course of business; transmitted funds outside the state of
Florida; and otherwise regularly engaged in interstate commerce.

10. As aresult of the services provided by New Century, two or more of its employees
regularly handled and worked with goods and materials moved in or produced in interstate
commerce,

11, By reason of the foregoing, New Century is and was, during all times material
hereto, an enterprise engaged in commerce or in the production of goods for commerce as

defined by the FLSA, 29 U.S.C. §§ 203(r)-(s), and Plaintiff is within interstate commerce.

 
Case 5:19-cv-00303-JSM-PRL Document1 Filed 06/21/19 Page 3 of 9 PagelD 3

12. Plaintiff regularly utilized and handled materials, equipment and goods
manufactured and purchased from outside the state of Florida and regularly used the
instrumentalities of interstate commerce in their world.

13. Upon information and belief, Weng is the president of New Century and has
economic and day-to-day control of New Century, and of the nature and structure of Plaintiffs
employment relationship with New Century and is therefore an employer as defined by 29
U.S.C. § 203(d).

GENERAL ALLEGATIONS

14. Upon information and belief, New Century employed Plaintiff for approximately
three (3) years from 2015 through 2017 (“the relevant time period”).

15. During the relevant time period, Plaintiff was employed as a non-exempt Cook
initially paid $1,700 per month, then later increased to $2,200 per month.

16. At all material times, New Century’s gross annual revenues were in excess of
$500,000.00

17. Throughout his employment with New Century, Plaintiff routinely worked for New
Century for a total of seventy-eight (78) hours per week, forty (40) reguiar hours and thirty-
eight (38) overtime hours.

18. Notwithstanding, Plaintiff initially received $5.45 per hour, then $7.05 per hour for
all hours worked by him each month. Defendants failed/refused to pay to Plaintiff the required
minimum and overtime wages as required by the FLSA, and Florida law.

19. Defendants willfully and intentionally failed/refused to pay to Plaintiff the federally

required minimum and overtime wages for all hours he worked over forty (40).

 
Case 5:19-cv-00303-JSM-PRL Document1 Filed 06/21/19 Page 4 of 9 PagelD 4

20. Defendants knew of the minimum and overtime requirements of the FLSA and
willfully/intentionally/recklessly failed to investigate whether its payroll practices were in
accordance with the FLSA.

21. Asaresult, Plaintiff has suffered damages and is entitled to receive overtime and
minimum wage compensation.

22, ‘Plaintiff has complied with all conditions precedent to filing this action.

23. Plaintiff has retained the law offices of the undersigned attorney to represent him
in this action and is obligated to pay a reasonable attorney’s fee.

PRE-SUIT DEMAND

24, On May 31, 2019, Plaintiff through his undersigned counsel, sent to New Century
a written pre-suit demand regarding the violations of the minimum wage and overtime
provisions of the FLSA, and requesting that they pay the amounts owed to Plaintiff, but New
Century failed/refused to do so (“Demand”).

COUNT I
VIOLATIONS OF THE OVERTIME PROVISIONS OF THE FLSA
AGAINST NEW CENTURY

25. Plaintiff re-alleges the allegations in paragraphs one (1) through twenty-four (24)

above.

26, This is an action against New Century for overtime compensation pursuant to 29

U.S.C. § 216(B).
27. _—_ Plaintiff routinely worked in excess of forty (40) hours per week for New Century.
28. Specifically, Plaintiff estimates that he worked for New Century for a total of

seventy-eight (78) hours per week, forty (40) regular hours and thirty-eight (38) overtime

hours.

 
Case 5:19-cv-00303-JSM-PRL Document1 Filed 06/21/19 Page 5 of 9 PagelD 5

29, Plaintiff was a non-exempt hourly employee, entitled to the Florida minimum wage
and to be compensated at the rate of one and one-half his regular rate for all hours worked in
excess of forty (40) hours per week.

30. Defendant knew or should have known that Plaintiff suffered or was permitted to
work overtime for New Century as defined in 29 U.S.C. § 203 (g).

31. New Century failed and/or refused to compensate Plaintiff for such work in excess
of forty (40) hours at rates no less than one and one-half times the regular rates, for which he
was employed, contrary to the provisions of 29 U.S.C. § 207 (a).

32. At all material times, New Century knew or should have known that such refusal
and/or failure is prohibited by the FLSA.

33. Notwithstanding, New Century intentionally and willfully violated the FLSA, as
cited herein.

34. At all material times, New Century failed/refused to maintain proper time records
as mandated by the FLSA regarding the overtime hours worked by Plaintiff.

35. Asa result, Plaintiff has been damaged and is entitled to be compensated for his

loss.

COUNT I
VIOLATIONS OF THE OVERTIME PROVISIONS OF THE FLSA
AGAINST WENG
36. Plaintiff re-alleges the allegations in paragraphs one (1) through twenty-four (24)
above.
37. This is an action against Weng for overtime compensation pursuant to 29 U.S.C. §

216(B).

38. ‘Plaintiff routinely worked in excess of forty (40) hours per week for Weng.

 
Case 5:19-cv-00303-JSM-PRL Document1 Filed 06/21/19 Page 6 of 9 PagelD 6

39, Specifically, Plaintiff estimates that he worked for Weng for a total of seventy-eight
(78) hours per week, forty (40) regular hours and thirty-eight (38) overtime hours.

40. Plaintiff was a non-exempt hourly employee, entitled to the Florida minimum wage
and to be compensated at the rate of one and one-half his regular rate for all hours worked in
excess of forty (40) hours per week.

41. Defendant knew or should have known that Plaintiff suffered or was permitted to
work overtime for Weng as defined in 29 U.S.C. § 203 (g).

42. Weng failed and/or refused to compensate Plaintiff for such work in excess of forty
(40) hours at rates no less than one and one-half times the regular rates, for which he was
employed, contrary to the provisions of 29 U.S.C. § 207 (a).

43. At all material times, Weng knew or should have known that such refusal and/or
failure is prohibited by the FLSA.

44. Notwithstanding, Weng intentionally and wiilfully vielated the FLSA, as cited
herein.

45. At all material times, Weng failed/refused to maintain proper time records as
mandated by the FLSA regarding the overtime hours worked by Plaintiff.

46. Asa result, Plaintiff has been damaged and is entitled to be compensated for his

loss.

COUNT Ill .
VIOLATIONS OF THE MINIMUM WAGE PROVISIONS OF THE FLSA
AGAINST NEW CENTURY
47. Plaintiff re-alleges the allegations in paragraphs one (1) through twenty-four (24)

above.

 
Case 5:19-cv-00303-JSM-PRL Document1 Filed 06/21/19 Page 7 of 9 PagelD 7

48. The FLSA requires that New Century pay Plaintiff a required minimum wage per
hour, 29 U.S.C. § 206(a). The FLSA requires that New Century, have a regular pay period and
make reasonably prompt payments in issuing pay for the work performed in the pay period.

49. New Century knew of and showed reckless disregard for the provisions of the
FLSA because New Century knew or should have known that Plaintiff's wages did not amount
to a lawful minimum wage in Florida considering his seventy-eight (78) hours worked each
week.

50. New Century willfully and intentionally failed to pay Plaintiff his minimum wages
by making the conscious decision to pay Plaintiff a salary which failed to compensate Plaintiff
at the applicable minimum wage.

51. New Century did not have a reasonable objective belief that it was not required to
pay Plaintiff's minimum wages.

52. Asa result, Plaintiff has been damaged and is entitled to be compensated for his
loss.

COUNT IV
VIOLATIONS OF THE MINIMUM WAGE PROVISIONS OF THE FLSA
AGAINST WENG

53. Plaintiff re-alleges the allegations in paragraphs one (1) through twenty-four (24)
above.

54. The FLSA requires that Weng pay Plaintiff a required minimum wage per hour, 29
U.S.C. § 206(a). The FLSA requires that Weng, have a regular pay period and make reasonably
prompt payments in issuing pay for the work performed in the pay period.

55. Weng knew of and showed reckless disregard for the provisions of the FLSA

because Weng knew or should have known that Plaintiff's wages did not amount to a lawful

minimum wage in Florida considering his seventy-eight (78) hours worked each week.

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Case 5:19-cv-00303-JSM-PRL Document1 Filed 06/21/19 Page 8 of 9 PagelD 8

56. Weng willfully and intentionally failed to pay Plaintiff his minimum wages by
making the conscious decision to pay Plaintiff a salary which failed to compensate Plaintiff at
the applicable minimum wage.

57. Weng did not have a reasonable objective belief that it was not required to pay
Plaintiff's minimum wages.

58. Asa result, Plaintiff has been damaged and is entitled to be compensated for his
loss.

PLAINTIFE’S DEMAND FOR JURY TRIAL

59, ‘Plaintiff hereby demands a jury trial of all issues so triable.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff, Xzequiel Montalvo, respectfully requests that judgment
be entered in his favor against Defendants New Century and Hua Guang Weng, as follows:

(a) Declaring pursuant to 29 U.S.C. § 206(a), 28 U.S.C §2201 and §2202, that the acts
and practices of the Defendants complained of herein are in violation of the minimum and
overtime wages provisions of the FLSA;

(b) Permanently enjoining the Defendants, their agents, officers and employees from
engaging in all practices found by this court to be in violation of the minimum and overtime
wages provisions of the FLSA;

) Awarding Plaintiff damages against Defendants, for lost and withheld
compensation, minimum wages, and overtime wages compensation for ali hours that he
worked for Defendants over forty (40) hours per week, but for which he was not compensated
at the required minimum and overtime rate;

(d) Awarding Plaintiff liquidated damages;

 
Case 5:19-cv-00303-JSM-PRL Document1 Filed 06/21/19 Page 9 of 9 PagelD 9

(ec) Awarding Plaintiff reasonable attorney’s fees, costs, interest, and expenses of this
litigation pursuant to 29 U.S.C. §216(b);

(f) Ordering any other further relief that this Court may deem just and proper.

sf
Respectfully submitted this A | day of June 2019.

By:_/s/_ Monica Espino
Monica Espino, Esq.

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